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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DECLARATION OF JOSEPH N.
                                               AKROTIRIANAKIS IN SUPPORT OF
13               Plaintiffs,                   PLAINTIFFS’ ADMINISTRATIVE
                                               MOTION TO FILE UNDER SEAL
14         v.                                  PORTIONS OF MEMORANDUM OF
                                               POINTS AND AUTHORITIES IN
15   NSO GROUP TECHNOLOGIES LIMITED            SUPPORT OF PLAINTIFFS’ MOTION
     and Q CYBER TECHNOLOGIES LIMITED,         TO STRIKE AFFIRMATIVE DEFENSES
16                                             [DKT. NO. 139] AND PORTIONS OF
                 Defendants.                   REPLY MEMORANDUM OF POINTS
17                                             AND AUTHORITIES IN FURTHER
                                               SUPPORT OF PLAINTIFFS’ MOTION
18                                             TO COMPEL DISCOVERY [DKT. NO.
                                               143]
19

20                                             Judge: Hon. Phyllis J. Hamilton
21                                             Action Filed: 10/29/2019
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      AKROTIRIANAKIS DECL.                                          Case No. 4:19-cv-07123-PJH
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 1           I, Joseph N. Akrotirianakis, declare as follows:

 2           1.     I am a member of the California State Bar and the bar of this court, a partner in the

 3   law firm of King & Spalding LLP, and counsel of record to Defendants NSO Group Technologies

 4   Limited and Q Cyber Technologies Limited (collectively, the “Defendants”). This Declaration is

 5   made in support of Plaintiffs’ September 10, 2020, Administrative Motion to File Under Seal

 6   Portions of Memorandum of Points and Authorities in Support of Plaintiffs’ Motion to Strike

 7   Affirmative Defenses (Dkt. No. 139) and Plaintiffs’ September 11, 2020 Administrative Motion

 8   to File Under Seal Portions of Reply Memorandum of Points and Authorities in Further Support

 9   of Plaintiffs’ Motion to Compel Discovery (Dkt. No. 143). 1

10           2.     The material Plaintiffs seek to file under seal relates to the information and

11   documents subject to Defendants’ previously filed Administrative Motion to File Under Seal.

12   (Dkt. No. 133.) As explained in that motion and its accompanying declarations, good cause (and,

13   if necessary, compelling reasons) supports sealing the information set forth in Plaintiffs’ briefs.

14   Therefore, Plaintiffs’ motion to seal should be granted for the reasons given in Defendants’ motion

15   to seal and accompanying declarations. (See Dkt. No. 133 at 4; Dkt. No. 133-3 ¶¶ 3-8, 10.)

16           I declare under the penalty of perjury and the laws of the United States that the foregoing

17   is true and correct this 14th day of September 2020, at Altadena, California.

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19                                    /s/ Joseph N. Akrotirianakis
                                     JOSEPH N. AKROTIRIANAKIS
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      To avoid any doubt, Defendants support only Plaintiffs’ motions to seal. Defendants oppose
27
     Plaintiffs’ Motion to Strike Affirmative Defenses (Dkt. No. 140) and their Motion to Compel
28   Discovery (Dkt. No. 116).
         AKROTIRIANAKIS DECL. ISO PLS.’                                        Case No. 4:19-cv-07123-PJH
         ADMIN. MOT. TO SEAL
